USCA4 Appeal: 07-4115      Doc: 196          Filed: 04/19/2010              Pg: 1 of 2


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                                                                                                    Office Manager
                                                 April 19, 2010

           Sharon A. Wiley, Deputy Clerk
           UNITED STATES COURT OF ApPEALS
           FOR THE FOURTH CIRCUIT
           Lewis F. Powell, Jr. United States Courthouse Annex
           1100 E. Main Street, Suite 501
           Richmond, Virginia 23219-3517

                  Re:    United States v. Lanora Ali
                         Docket No. 07-4062

           Dear Clerk:

                  Enclosed please find an original transcript request form for the missing

           sentencing transcript dated December 19, 2006 in the above-captioned matter.


                                                                             ResP7c'HVlsubmitted,

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                                                                             Ala~
           cc:    Tracy Dunlap, Official Court Reporter
    04/19/2010 10:35 FAX 410 540 9950                                               TICKNOR MONTEMARANO
USCA4 Appeal: 07-4115                          Doc: 196                         Filed: 04/19/2010     Pg: 2 of 2                                                                   I4l 001

                                                         FOURTHCIRCUITTRANSCRIPTOlIDER FORM

     Case Style      N'r!.;;\) STP.T~ 5
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     Address of Reporter Cp,?OC Q.\t;'~(Z.:YWcrR t...p.Nt;;/ !<or}!'", :teo G€e-~iT • NAJ?:UtA,:NP 20719
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     Appellantmust order any necessary transcript, completinga separate transcript order form (and separate CJA 24 Form) for each
     reporter and submitting the order to the court reporter and the district court within 14 days of noting the appeal. The completed form
     must show that necessary financial arrangements have been made or that a CJA24 Form has been submittedto the district court for
     approval. Copies of the transcriptorder form must be attached to the docketing statementfiled in the Court of Appeals and servedon
     opposing counselwithin 14 days of docketingof the appeal, or the appeal will be subject to dismissalpursuantto Local Rule 45. If
     appellee finds other parts of the proceedings necessary, appellee must designate the additionalparts within 14 days after service of the
     transcript order. If appellant has not ordered the additional parts within 14 days, appellee may, within the following 14 days, order the
     additional parts or move in the district court for an order requiringappellant to do so. In sentencingappeals. a transcript of the
     sentencing hearingmust be ordered. In Mders appeals, plea (or trial), suppression, and sentencingtranscript mustbe ordered. If
     appellee wishesto obtain a copy of transcript orderedby appellant, appellee must order a copy from the court reporter. In multi­
     defendant cases involvingCJA defendants, only one originaltrial transcript should be purchased from the court reporteron behalfof
     CJAdefendants, and copies should thereafterbe made at commercially competitive rates. Counsel must review transcript and notify
     the districtcourt of any intentionto direct redaction of personal data identifierswithin 7 days of filing of the transcript, and thereafter
     submita statementof redactions to the court reporterwithin 21 days of filing of the transcript, as required by the J udiciaiConference
     PoliCY on Privacy and Public ACCl;SS to Electronic Case FiS;. Counsel should verify that the witnessname and type of. examination
     appearin the top margin of each page of testimony, as required for inclusion in the appendixon appeal. Local Rule 30(b).

      A. This constitutes an order of the transcript of the followingproceedings. Checkappropriatebox(es), provide date of hearing, and
             indicatetotal numberof estimated pages. Failure to specify in adequate detail the proceedingsto be transcribed is groundsfor
             dismissal. Specific authorization is required under the CJA for opening and closing statements, voir dire, 01' jury instructions.

                 PROCEEDING                                                               HEAlUNG DATE(S)

             o Voir Dire
             o OpeningStatement(plaintiff)
             o Opening Statement (Defendant)
             o ClosingArgument(Plaintiff)
             o ClosingArgument(Defendant)
             o Opinionof Court
             o JUJ:)' Instructions
          )ll' Sentencing
r            o Bail Hearing
             D Pre-Trial Proceedings(specify)

             o Testimony (specify)
             o Other (specify)

             TOTAL ESTIMATED PAGES                                                  ~_ _


      B. I certify that I have contacted the court reporter (or coordinator if electronic recordingfrom the District of Maryland) and
         satisfactory financial arrangements for paymentof the transcript have been made.
         o Private funds. (Deposit of $~__ enclosed Ml:h court reporters copy. Check No.                          .)
         o Criminal Justice Act. A CIA 24 Form has been submitted to the district court and a copy is attached.
         o Government expense (civil case--IFP). Motion for transcript at governmentexpenseis pending with districtjudge.
         ~ Advance payment waived by court reporter. Payment i.n full is due upon receiptof transcript.
         o FederalPublic Defender - no CIA 24 Form necessary,
         o United States appeal - copy of litigationexpense form attached, if applicable.
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     Date Sent to Reporter 4\ \ Ct I \0
